           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
                     Plaintiff,       )
                                      )
     vs.                              )      No. 15-03038-02-CR-S-BCW
                                      )
CLAUDIA DORSEY,                       )
                                      )
                     Defendant.       )


                     REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One contained in the Indictment

filed on March 31, 2015.        After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty plea was knowledgeable and

voluntary, and that the offense charged is supported by a factual

basis for each of the essential elements of the offense.        I therefore

recommend that the plea of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.



Date: September 21, 2015              /s/ David P. Rush
                                      DAVID P. RUSH
                                      UNITED STATES MAGISTRATE JUDGE




    Case 6:15-cr-03038-BCW   Document 248   Filed 09/21/15   Page 1 of 2
                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




                                   2



    Case 6:15-cr-03038-BCW   Document 248   Filed 09/21/15   Page 2 of 2
